AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                 u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
   Information about the location of the cellular telephone                 )
     assigned call number 414-553-4801, whose service                               0DWWHU1R5
                                                                            )
   provider is AT&T, as further described in Attachment A                   )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                   District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before                                (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        Hon. Nancy Joseph                    .
                                                                                                  (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ✔ for 30 days (not to exceed 30) u until, the facts justifying,
     u                                                               ng,, tthe
                                                                            he later specific date ooff
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Date and time issued:#DP
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City and state: Milwaukee, Wisconsin                                                  Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                             Case 2:23-mj-00891-NJ Filed 04/18/23 Page 1 of 32 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                             Case 2:23-mj-00891-NJ Filed 04/18/23 Page 2 of 32 Document 1
                                ATTACHMENT A

                             Property to Be Searched

1. Records and information associated with the cellular device assigned call number 414-

    553-4801 (referred to herein and in Attachment B as “the Target Cell Phone”), with

    listed subscriber(s) unknown, that is in the custody or control of AT&T (referred to

    herein and in Attachment B as the “Provider”), a wireless communications service

    provider that is headquartered at 11760 U.S. Highway 1, North Palm Beach, Florida

    33408.

2. The Target Cell Phone.




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                                   ATTACHMENT B

                             Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A:

        a. The following subscriber and historical information about the customers or
           subscribers associated with the Target Cell Phone for the time period April 1,
           2023, to present:

                i. Names (including subscriber names, usernames, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business
                   addresses, and e-mail addresses);

              iii. Local and long-distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

               v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

             viii. Means and source of payment for such service (including any credit card
                   or bank account number) and billing records; and



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        ix. All records and other information (not including the contents of
            communications) relating to wire and electronic communications sent or
            received by the Target Cell Phone, including:

            (A) the date and time of the communication, the method of the
            communication, and the source and destination of the communication
            (such as the source and destination telephone numbers (call detail
            records), email addresses, and IP addresses); and

             (ii) information regarding the cell tower and antenna face (also known as
            “sectors” through which the communications were sent and received)

b.   Information associated with each communication to and from the Target Cell
     Phone for a period of 30 days from the date of this warrant, including:

         i. Any unique identifiers associated with the cellular device, including ESN,
            MEIN, MSISDN, IMSI, SIM, or MIN;

        ii. Source and destination telephone numbers;

       iii. Date, time, and duration of communication; and

       iv. All data about the cell towers (i.e., antenna towers covering specific
           geographic areas) and sectors (i.e., faces of the towers) to which the
           Target Cell Phone will connect at the beginning and end of each
           communication.

     The Court has also issued an order pursuant to 18 U.S.C. § 3123, dated today, for
     such information associated with the Target Cell Phone.

c. Information about the location of the Target Cell Phone for a period of 30 days,
   during all times of day and night. “Information about the location of the Subject
   Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
   data, and other precise location information.

         i. To the extent that the information described in the previous paragraph
            (hereinafter, “Location Information”) is within the possession, custody, or
            control of the Provider, the Provider is required to disclose the Location
            Information to the government. In addition, the Provider must furnish the
            government all information, facilities, and technical assistance necessary
            to accomplish the collection of the Location Information unobtrusively
            and with a minimum of interference with the Provider’s services,
            including by initiating a signal to determine the location of the Target Cell
            Phone on the Provider’s network or with such other reference points as
            may be reasonably available, and at such intervals and times directed by
            the government. The government shall compensate the Provider for
            reasonable expenses incurred in furnishing such facilities or assistance.


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                   ii. This warrant does not authorize the seizure of any tangible property. In
                       approving this warrant, the Court finds reasonable necessity for the seizure
                       of the Location Information. See 18 U.S.C. § 3103a(b)(2).


   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence and

instrumentalities of violations of 21 U.S.C. §§ 846, 841(a)(1), and 843(b) involving Rayvon D.

Edwards during the period from April 1, 2023 to the present.

         Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




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                       Case 2:23-mj-00891-NJ Filed 04/18/23 Page 7 of 32    Document 1
    AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

            I, Ryan Reagan, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c)(1)(A) for information about the location

of the cellular telephone assigned call number 414-553-4801 (the “Target Cell Phone”), whose

service provider is AT&T (“Service Provider”), a wireless telephone service provider

headquartered at 11760 U.S. Highway 1, North Palm Beach, Florida 33408. The Target Cell Phone

is described herein and in Attachment A, and the location information to be seized is described

herein and in Attachment B.

       2.      Because this warrant application seeks the prospective collection of information,

including cell-site location information, that may fall within the statutory definitions of

information collected by a “pen register” and/or “trap and trace device,” see 18 U.S.C. § 3127(3)

& (4), I also make this affidavit in support of an application by the United States of America for

an order pursuant to 18 U.S.C §§ 3122 and 3123, authorizing the installation and use of pen

registers and trap and trace devices (“pen-trap devices”) to record, decode, and/or capture dialing,

routing, addressing, and signaling information associated with each communication to or from the

Target Cell Phone.

       3.      I am a Task Force Officer with the Federal Bureau of Investigation and have been

since November 2021 with the Milwaukee Area Safe Streets Task Force, and I am a Police Officer

with the Milwaukee Police Department and have been since December 2014.

       4.     As a Police Officer and Task Force Officer, I have participated in the investigation

of gang and narcotics related offenses, resulting in the seizure of illegal drugs, weapons, United


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States currency, and other evidence of criminal activity. As an investigator, I have interviewed

many individuals involved in drug trafficking and gang activity, and have obtained information

from them about the acquisition, sale, importation, manufacture, and distribution of controlled

substances. Through my training and experience, I am familiar with the actions, habits, traits,

methods, and terminology used by the drug traffickers, gang members, and abusers of controlled

substances. I have participated in all aspects of drug and gang investigations, including physical

surveillance, execution of search warrants, court-ordered wiretaps, analysis of phone and financial

records, and the arrests of drug traffickers. I have also been the affiant and participated in the

preparation and execution of drug and gang-related search warrants. Additionally, I have spoken

with other experienced narcotics investigators on numerous occasions concerning the method and

practices of drug traffickers and money launderers. Through these investigations, my training and

experience, and conversations with other law enforcement personnel, I have become familiar with

the methods used by drug traffickers and gang members to manufacture, smuggle, safeguard, and

distribute narcotics and firearms, and to collect and launder trafficking-derived proceeds. In

addition to my experience in the investigation of individuals involved in federal criminal offenses,

I also have knowledge and experience in the apprehension and prosecution of individuals involved

in federal criminal offenses. I am familiar with and have experience in the use of cellular devices

used to commit those offenses as well as the available technology that can be used by law

enforcement to assist in identifying the users of cellular devices and their locations.

       5.      The facts in this affidavit come from my personal observations, my training and

experience, my review of documents, and information obtained from other agents and confidential

human sources. This affidavit is intended to show merely that there is probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.



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       6.         Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of 21 U.S.C. §§ 846, 841(a)(1), and 843(b) have been committed, are being committed,

and will be committed by Rayvon D. Edwards. There is also probable cause to believe that the

location information described in Attachment B will constitute evidence of these criminal

violations and will lead to the identification of individuals who are engaged in the commission of

these offenses.

       7.         The court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offense being investigated, see 18 U.S.C.

§ 2711(3)(A)(i).

                                         PROBABLE CAUSE

       8.         The United States, including the Federal Bureau of Investigation, is conducting a

criminal investigation of Rayvon D. Edwards regarding possible violations of 21 U.S.C. §§ 846,

841(a)(1), and 843(b) (distribution of a controlled substance, possession with intent to distribute

a controlled substance, using a telephone to facilitate a felony drug crime, and drug conspiracy).

       9.         The investigation to date has included traditional law enforcement methods,

including, but not limited to: interviews with confidential sources and sources of information;

information from other law enforcement officers; documentary evidence; telephone toll data;

controlled purchases of narcotics; and physical surveillance.

       10.     Case agents have since received information regarding the illegal drug trafficking

activities of Rayvon D. Edwards from a confidential source (hereinafter “CHS #1”). CHS #1 has

been providing reliable information to the Federal Bureau of Investigation since March 2022.

Specifically, CHS #1 provided information that directly led to a search warrant regarding a known



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target which led to the recovery of three firearms and a distribution-level quantity of marijuana

and crack cocaine.

        11.    CHS #1 has provided information about the membership, structure, and customs of

Edwards’s drug trafficking organization. CHS #1 has positively identified Edwards as the leader

of that drug trafficking conspiracy through a Milwaukee Police Department booking photo.

Further, CHS #1 identified Daje M. Hunter through a Wisconsin Department of Transportation

photograph as Edwards’s girlfriend and as an active participant in the drug trafficking

organization. CHS #1's information regarding Edwards’s drug trafficking organization has been

corroborated by other investigations into Edwards and his associates, information obtained from

various public databases including Experian, phone data, Wisconsin Circuit Court Access

Program, physical surveillance, and other investigative information. CHS #1’s information has

never been found to be false or misleading.

        12.     The information provided by CHS #1 is consistent with evidence obtained

elsewhere in this investigation, and substantial parts of CHS #1’s information have been

corroborated through independent investigation, including information obtained from various

public databases, physical surveillance, and electronic surveillance. CHS #1 has a criminal history

that includes theft, property damage, trespass, drug trafficking, and vehicle and traffic violations.

CHS #1 is receiving consideration in connection with pending drug and firearms cases from the

Milwaukee County District Attorney’s Office for his/her cooperation with law enforcement. CHS

#1 has also been arrested and charged with possession of marijuana, possession of drug

paraphernalia, and bail jumping and released on bond. For these reasons, case agents consider CHS

#1 to be reliable.

        13.     CHS #1 informed investigators that Edwards picks up two to four kilograms of

cocaine and heroin a week. CHS #1 informed investigators that he/she typically communicates

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with Edwards via FaceTime, contacting him on phone number 414-491-2298. CHS stated they

also speak via text and traditional voice call, but usually via FaceTime. CHS #1 said that Edwards

communicates with text, traditional call, and FaceTime. However, the traditional phone call

conversations are generally short with limited information. CHS #1 said that when Edwards

engages in drug transactions with drug users that he will sell the cocaine or heroin for $50 per

gram and will occasionally sell the cocaine and heroin for $20 per gram in an attempt to acquire

more consumers.

       14.     On multiple occasions in March and April 2022, CHS #1 provided information

about Rayvon Edwards’s communication. On March 23, 2022, CHS #1 provided case agents with

two phone numbers that Edwards uses for narcotics trafficking. CHS #1 identified 414-491-2298

as Edwards’s high-level drug line, the phone number that he uses to contact sources of supply.

CHS #1 identified 414-899-7597 as Edwards’s low-level drug line, the phone number that he uses

to distribute controlled substances. Case agents issued administrative subpoenas for subscriber and

telephone toll data for both call numbers, and an analysis of the data showed many common call

numbers with which both the high-level drug line and low-level drug line were in frequent contact,

consistent with Edwards controlling both call numbers.

       15.     In early March 2022, CHS #1 informed case agents that Hunter drives a black

Mercedes SUV. Later in March 2022, CHS #1 contacted case agents and informed them that

Hunter’s SUV had a Wisconsin license plate ANP-8319. A check of the Wisconsin Department of

Transportation’s records shows that Wisconsin license plate ANP-8319 lists to Hunter as the

registered owner with an address of 7210 West Capitol Drive, Milwaukee, Wisconsin.

       16.     CHS #1 informed case agents that Edwards purchased an auto shop and provided

an address of 7210 West Capitol Drive, Milwaukee, Wisconsin. CHS #1 said that Edwards had

purchased the auto shop, was refurbishing the auto shop to operate as a legitimate source of income

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but was paying for the improvements with proceeds of drug trafficking. A Currency Transaction

Report (CTR) #31000212039542 associated with Daje M. Hunter, Edwards’s girlfriend, dated

March 16, 2022, listed 414-446-0856 as Hunter’s contact phone number. A follow-up search of

Experian phone data identified 414-446-0856 as being associated with Daje M. Hunter. Utility

checks conducted in April 2022 on 7210 West Capitol Drive, Milwaukee, Wisconsin listed Daje

M. Hunter as the responsible party with a phone number of 414-446-0856. In mid-April 2022, case

agents contacted the Wisconsin Department of Financial Institutions via an open records request

regarding any corporations associated with Rayvon D. Edwards or Daje M. Hunter. Edwards was

listed as the registered agent of Lavish Tuning Auto Repair LLC, located at 7210 West Capitol

Drive, Milwaukee, Wisconsin.

       17.     CHS #1 also provided information regarding a drug trafficker known to CHS #1 as

“Fifty,” later identified as William H. Pope (DOB: 02/28/2000). CHS #1 reported that in March

2022 Pope was involved in a vehicle pursuit with the Milwaukee Police Department in a black

Jeep SRT. Case agents are aware that Pope was arrested in a vehicle pursuit driving a black Jeep

SRT. Court records show that Pope was charged for this crime in Milwaukee County Case Number

2022CF001012 with one count of fleeing or eluding an officer causing bodily harm or property

damage, in violation of Wisconsin Statute 346.04(3), three counts of first-degree recklessly

endangering safety, in violation of Wisconsin Statute 941.30(1), and driving or operating a vehicle

without owner’s consent, in violation of Wisconsin Statute 943.23(3), and possession with intent

to deliver cocaine with use of a dangerous weapon, in violation of Wisconsin Statutes

961.41(1m)(cm)2 and 939.63(1)(b). On March 16, 2022, he appeared in Milwaukee County Circuit

Court and was turned over to Justice Point supervision and ordered not to possess controlled

substances, dangerous weapons, or firearms.



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        18.    CHS #1 informed investigators that Pope is a mid-level distributor in the Edwards’s

drug trafficking organization. CHS #1 informed case agents that Pope receives a couple of ounces

of narcotics a week from Edwards and that Pope is known to possess firearms while drug

trafficking. CHS #1 identified Pope as “Fifty” in a Milwaukee Police Department booking photo.

        19.    Pope was stopped by law enforcement on March 11, 2022, with 13 grams of

cocaine/fentanyl and $6,632 cash in his pocket. CHS #1 was aware that either Edwards or a person

associated with Edwards posted $10,000 bail for Pope. CHS #1 later informed investigators that

Daje Hunter withdrew $10,000 for Pope’s bail on March 16, 2022. Milwaukee County Jail and

bail records show that “Latanya Mays” paid $10,000 for William Pope’s bail on March 16, 2022.

        20.    On May 15, 2022, Edwards was arrested in Chicago, Illinois with 142 grams of

crack cocaine and two digital scales. While in custody, Edwards called Daje Hunter at 414-446-

0856.

        21.   On May 26, 2022, the Honorable Nancy Joseph, United States Magistrate Judge of

the Eastern District of Wisconsin, signed a warrant for location information for 414-491-2298 in

Case No. 22-917M (NJ).

        22.   On June 24, 2022, the Honorable Nancy Joseph, United States Magistrate Judge of

the Eastern District of Wisconsin, signed an extension of the warrant for location information for

414-491-2298 in Case No. 22-917M (NJ)

        23.    On July 8, 2022, case agents conducted surveillance on Edwards using the location

information for Edwards’s prior phone number 414-491-2298. While the location information

showed 414-491-2298 in the vicinity of 7210 West Capitol Drive, Milwaukee, Wisconsin, case

agents observed Pope arrive at the same location in a gray Dodge Charger. Case agents observed

Pope and Edwards both enter 7210 West Capitol Drive, Milwaukee, Wisconsin and then exit a

short time later. Case agents observed Pope enter the driver seat of the Charger, travel one block

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away, and park in the 4000 block of North 72nd Street, Milwaukee, Wisconsin near a red Saturn

Vue. While parked, a white female exited the Saturn and approached the driver window of Pope’s

Charger. The white female engaged in what appeared to be a hand-to-hand transaction with Pope

before returning to her vehicle. A traffic stop was later conducted on the Saturn Vue, and the

female admitted to purchasing cocaine and heroin from a black male matching Pope’s description

in a gray Dodge Charger. Law enforcement officers recovered heroin from the Saturn Vue, and

the female said that she consumed the cocaine.

       24.     Case agents were made aware of a vehicle pursuit which occurred on July 12, 2022,

during which MPD Officers pursued a 2015 Hyundai Sonata driven by Jerold Lee-Brown (DOB:

02/09/1995). At the end of the vehicle pursuit, Lee-Brown exited the Sonata and ran to a waiting

gray Dodge Charger and entered the back passenger seat. The Dodge Charger then fled. Case agent

review of the squad camera video and reports indicated that the pursuit began at approximately

7:38 p.m. from the area of 2111 South 14th Street, Milwaukee, Wisconsin. At approximately 7:57

p.m., the Hyundai Sonata drove through a vacant field near North 28th Street and North 29th Street

towards West St. Paul Avenue, where a gray Dodge Charger with black rims was waiting facing

eastbound towards the freeway entrance. As the Sonata drove through the field, Lee-Brown exited

the driver door and began to run towards the Charger. The rear driver side door of the Charger was

opened from the inside by an occupant of the vehicle. Lee-Brown entered, and the Charger

subsequently fled onto the freeway, eluding the police. Case agents recognized the Dodge as a

similar body style, color, and color rims as the vehicle known to be operated by Pope. The police

officers reported that the Charger had a possible plate of ANK-3228 but had a license plate cover

over the plate. This plate number is similar to the plate on Pope’s Charger which is AKX-3238. A

review of the electronic video surveillance at Edwards’s auto shop located at 7210 West Capitol

Drive, Milwaukee, Wisconsin captured Edwards, shortly after this pursuit, partially opening a

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garage bay door, which a gray Dodge Charger, matching the appearance of the one from the fleeing

incident, then entered. The garage bay door was then immediately closed behind the vehicle. A

subject with a similar build and clothing appearance as Lee-Brown exited the shop along with

subjects matching the physical characteristics of Pope and Edwards.

       25.     A review of the location information for Edwards’s prior phone number 414-491-

2298 showed that his phone was in the vicinity of the auto shop at 7210 West Capitol Drive,

Milwaukee, Wisconsin at the time of the pursuit, and a review of the pen register data revealed

that 414-750-9792 called Edwards at approximately 8:01 p.m. for approximately 36 seconds just

prior to an unknown male running to the shop and Edwards returning to the shop. A second call

with the same number began at 8:07:39 p.m. and lasted 1 minute 49 seconds. This call was

terminated within 3 seconds of the Dodge Charger pulling into the garage bay.

       26.     Case agents have since received information concerning the illegal drug trafficking

activities of Rayvon D. Edwards from a confidential source (hereinafter “CHS #2”). CHS #2 has

provided information about the membership, structure, and customs of Edwards’s drug trafficking

organization. CHS #2 has been providing information related to Edwards since June of 2022. CHS

#2 has positively identified Edwards as the leader of that drug trafficking conspiracy through a

Milwaukee Police Department booking photo. CHS #2’s information concerning Edwards’ drug

trafficking organization has been corroborated by other investigations into Edwards and his

associates, information obtained from various public databases, including Experian, phone date,

Wisconsin Circuit Court Access Program, physical surveillance, and other investigative

information. CHS #2 information has never found to be false or misleading.

      27.      CHS #2 has a prior State of Wisconsin conviction for drug trafficking and a firearm

offense. CHS#2 was questioned and provided information both known and unknown to

investigators, the information provided by CHS #2 regarding the Edwards investigation is

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corroborated and is found to be reliable. The known information that CHS #2 provided regarding

the Edwards investigation is the location of the auto shop, the vehicles known to be used by

Edwards, the identity of his girlfriend, the paying of William Pope’s bail, Edwards’s phone number,

the quantity of drugs that Edwards is trafficking, and the quantity of currency Edwards is known to

possess. CHS #2 is cooperating in exchange for consideration in connection with arrests and charges

for drug trafficking and firearms offenses.

       28.       CHS #2 confirmed that Edwards is a large-scale supplier of heroin and cocaine in

the greater Milwaukee area and that Edwards is known to be in possession of $100,000 on his

person at a time. CHS #2 has observed Edwards in possession of a kilogram of heroin in a vehicle

within the past three months (from the time the information was provided) but could not recall a

location or date.

       29.       In October 2022, CHS #2 informed case agents that Edwards moved to a new

residence located on the northside of Milwaukee. Case agents conducted follow up, which revealed

through an Open Law Enforcement Resource (OLER) that Daje Hunter has an active account for

the address at 11346 North Buntrock Avenue, Unit 109, Mequon, Wisconsin, active since October

4, 2022.

           30.   CHS #1 and CHS #2 provided information to investigators that Rayvon Edwards

purchases two to four kilograms of cocaine and heroin on a weekly basis and distributes the cocaine

and heroin throughout the County of Milwaukee to street-level drug traffickers. CHS #1 and CHS

#2 provided information that Rayvon Edwards uses phone calls or FaceTime to communicate with

street-level drug traffickers to establish a location for the exchange of drugs for United States

currency. CHS #1 said that Edwards will often be accompanied by his girlfriend Daje Hunter when

Edwards picks up the kilograms of cocaine and heroin from Edwards’s supplier. CHS #1 said that

Edwards uses Hunter to drive during these pickups to avoid law enforcement detection. CHS #1

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has not been able to provide information to investigators that would establish a source of supply,

time of pickups from the supplier, or the location where Edwards and his supplier conduct the drug

transaction.

       31.     CHS #1 and CHS #2 provided information that Rayvon Edwards sells cocaine in

ounce quantities for $900 per ounce, either powder cocaine or crack cocaine, and that Edwards

sells heroin for $40 per gram. CHS #1 and CHS #2 have said that that they have observed Edwards

in possession of more than $50,000 on his person on multiple occasions and have heard Edwards

brag about possessing between $500,000 and $1,000,000 in United States currency as a result of

drug trafficking.

       32.     On November 16, 2022, CHS #2 conducted a controlled purchase of cocaine and

heroin from Edwards. Prior to the controlled buy, CHS #2 placed a consensually recorded phone

call to Edwards at 414-748-9891, where Edwards and CHS #2 discussed the sale of “two zaps and

15 grits” for “2250,” consistent with a drug transaction.

       33.     On November 16, 2022, prior to the controlled buy, Edwards was observed via

remote static electronic surveillance at 7210 West Capitol Drive, Milwaukee, Wisconsin with a

small black bag that appeared to have items inside along with a hammer. Edwards entered a black

Audi Q7 bearing WI Auto 344LXC and departed the location. A short time later, Edwards was

observed arriving at 11346 North Buntrock Road, Mequon, Wisconsin—the new home that had

been identified with Edwards and Hunter.

       34.     Shortly after Edwards’s arrival at 11346 North Buntrock Road, Mequon,

Wisconsin, CHS #2 placed the recorded phone call for two ounces of cocaine and 15 grams of

heroin. Case agents observed CHS #2 meet with Edwards, where Edwards directed CHS #2 to

follow him into an alleyway near where CHS #2 was parked. While in the alleyway, Edwards and

CHS #2 had an interaction between vehicles from CHS #2’s front passenger window and

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Edwards’s driver window. CHS #2 then departed and drove to the pre-determined meet location,

where CHS #2 turned over approximately two ounces of an off-white powdery substance,

suspected to be cocaine, in a clear plastic sandwich bag and a tan, rock-like substance, suspected

to be heroin, in a clear plastic sandwich bag. CHS #2 said that, while in the alleyway, CHS #2

provided Edwards with the pre-recorded United States currency and Edwards provided CHS #2

with the suspected cocaine and heroin. Case agents field tested the off-white powdery substance,

which field tested positive for cocaine, and the tan, rock-like substance, which tested positive for

methamphetamine. Case agents have reviewed the controlled audio-video recording, and CHS #2’s

information is consistent with the information that CHS #2 provided.

       35.     On December 21, 2022, CHS #2 said that Edwards began to get suspicious that

law enforcement may be investigating him and obtained a new phone number. CHS #2 provided

that number as 414-553-4801—the Target Cell Phone.

       36.     On January 25, 2023, CHS #2 spoke with investigators and stated that Edwards is

currently using call number 414-553-4801—the Target Cell Phone—to facilitate drug

transactions with street-level drug traffickers.

       37.     Case agents conducted a telephone toll analysis of 414-553-4801—the Target Cell

Phone—from October 22, 2022, to January 19, 2023, and found that the Target Cell Phone was

in contact with multiple call numbers that case have identified as being involved in Edwards’s

drug trafficking organization, including Daje Hunter, Laquonda Criss, and a number identified as

Rayvon Edwards’s personal phone number.

       38.     On February 3, 2023, the Honorable William E. Duffin, United States Magistrate

Judge of the Eastern District of Wisconsin, signed a warrant for location information for the Target

Cell Phone in Case No. 23-MJ-1. An extension of this warrant was subsequently authorized on

March 3, 2023.

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       39.     On February 6, 2023, case agents conducted a controlled purchase of crack cocaine

and heroin from Edwards. Before the controlled buy, GPS pings on the Target Cell Phone and

remote electronic surveillance reflected that Edwards was at his residence at 11346 N. Buntrock

Avenue, Mequon, Wisconsin at approximately 11:00 a.m. Case agents observed Edwards depart

the location at approximately 11:20 a.m. Subsequently, GPS pings on the Target Cell Phone and

remote electronic surveillance reflected that Edwards arrived at 7210 W. Capitol Drive,

Milwaukee, Wisconsin at approximately 12:11 p.m.

       40.     On February 6, 2023, at approximately 2:17 p.m., CHS #2 conducted a recorded

phone call to Edwards at the Target Cell Phone to facilitate the controlled buy, the following is

a transcript of the phone call:

       CHS #2:         “Yooo.”
       Edwards:        “What’s going on?”
       CHS #2:         “Man, you know how all these niggas get they girls tax money and wanna
                       be hustlers, I need you dawg.”
       Edwards:        “What’s going on?”
       CHS #2:         “I need uh, a zap and half and ten grits.”
       Edwards:        “Alright, uh Im gonna tell you, im finna call you in like two minutes so
                       like come.”
       CHS #2:         “Alright come on bro I need it.”
       Edwards:        “Ill call you right back, if I don’t call you, you call me.”


       41.     Agents searched CHS #2 and CHS #2’s vehicle for any money or contraband and

then provided CHS #2 with $1750 in pre-recorded U.S. currency for purchase of one and a half

ounces of crack cocaine and ten grams of heroin. CHS #2 then departed for the pre-determined

meet location with Edwards. Visual surveillance was maintained of CH S#2 throughout the

duration of the controlled buy.

       42.     Case agents conducting surveillance observed Edwards arrive at 6088 N. 41st Street,

Milwaukee, Wisconsin after the recorded phone call and entered the residence. Surveillance

observed Edwards leave the residence a short time later and drive directly to the pre-determined

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meet location with CHS #2. Surveillance observed Edwards arrived to the meet location of N. 37th

Street and W. Florist Street in the City of Milwaukee and enter an alleyway. CHS #2 followed

Edwards into the alleyway and pulled CHS#2’s vehicle next to Edwards’s vehicle. Edwards and

CHS #2 had an exchange through CHS #2’s driver window and Edwards’s front passenger

window. CHS#2 then departed the location with surveillance officers following to the pre-

determined meeting location.

       43.     CHS #2 met with cases agents and stated that in the alleyway, CHS #2 handed

Edwards the pre-recorded $1750 and Edwards handed CHS #2 two knotted clear plastic sandwich

bags containing crack cocaine and heroin. Case agents recovered the two sandwich bags from

CHS #2’s vehicle and observed one contained an off-white rock-like substance, which was

suspected to be crack cocaine, and the other contained a tan rock-like substance, which was

suspected to be heroin.

       44.     Case agents subjected the purchased crack cocaine to the Nark II 07 field test, which

tested positive for cocaine base with a weight of 29.0 grams. Case agents subjected the purchased

heroin to the Nark II 01, 11, 33 field tests, which tested positive for heroin and fentanyl with a

weight of 11.3 grams.

       45.     Since the warrant for location data for the Target Cell Phone was authorized, it

has reflected that Edwards’s phone is often in the vicinity of his Mequon home, as well as the auto

shop located at 7210 West Capitol Drive, Milwaukee, Wisconsin. The location data has provided

relevant details related to Edwards’ drug trafficking activities in that it shows the relation between

his criminal activities and the locations in which he frequents. As an example, based on remote

electronic surveillance of the auto shop, case agents believe that Edwards has engaged in

transactions that agents believe to be consistent with drug trafficking in the vicinity of his auto

shop. Based upon Edwards traveling to the area of the auto shop before meeting with CHS #2 on

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February 6, 2023, for the controlled buy, as well as the remote electronic surveillance, case agents

believe that Edwards is using the auto shop to facilitate his drug trafficking activities.

       46.     Case agents spoke with CHS #2 on April 12, 2023, at which time CHS #2 confirmed

that Edwards is still using the Target Cell Phone.

       47.        Case agents along with CHS #2 conducted a third controlled buy from Rayvon

Edwards on April 12, 2023, for two ounces of crack cocaine and 12 grams of heroin for $2,500.

Case agents reviewed remote static surveillance on April 12, 2023, which revealed that Edwards

departed 11346 N. Buntrock Avenue, Mequon, Wisconsin at approximately 7:24 a.m. At

approximately 12:04 p.m., case agents located the vehicle that Edwards left his residence in across

the street from 6088 N. 41st Street, Milwaukee, WI and then observed Edwards exit 6088 N. 41st

Street, Milwaukee, Wisconsin at 12:11 p.m. While monitoring remote static surveillance video,

Edwards was observed arriving at 7210 W. Capitol Drive, Milwaukee, Wisconsin at 12:40 p.m.

       48.     Case agents and CHS#2 met at 12:27 p.m. and began making multiple recorded

phone calls to Edwards using the Target Cell Phone to facilitate the controlled buy. The first four

phone calls went unanswered. CHS #2 then received a phone call from the Target Cell Phone.

The person that called CSH #2 identified himself as Edwards’s “Brother,” who CSH #2 believed

to be a close associate of Edwards. The caller informed CHS #2 that he was bringing Edwards the

phone and that Edwards would be in contact with CHS #2 soon. At 1:35 p.m., CHS #2 made a

recorded phone call to the Target Cell Phone, and Edwards answered. During the phone call,

Edwards confirmed the transaction and amount of cocaine and heroin to be purchased by CHS #2.

Edwards informed CHS #2 that he (Edwards) would have to go to Florist and get the drugs.

       49.     Case agents conducted a search of CHS #2’s person and vehicle for any contraband

and money and did not locate any. CHS #2 was then provided with $2,500 for the purchase of two

ounces of crack cocaine and 12 grams of heroin. CHS #2 departed the meeting location and

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traveled to N. 36th Street and W. Florist Avenue, which is within the vicinity of the location at

which the previous controlled buys occurred. This location is a few blocks from 6088 N. 41st Street,

Milwaukee, Wisconsin. Case agents maintained visual surveillance of CHS #2 throughout the

duration of the controlled buy. Shortly after the completion of the phone call with CHS #2 over

the Target Cell Phone, Edwards was observed leaving 7210 W. Capitol Drive, Milwaukee,

Wisconsin and arriving across the street from 6088 N. 41st Street, Milwaukee, Wisconsin.

Edwards was observed exiting his vehicle and entering into the gangway that the entrance door to

6088 N. 41st Street, Milwaukee, Wisconsin is located. Edwards was then observed returning to his

vehicle approximately two minutes later. Edwards was then observed traveling towards the

location CHS #2 had been waiting for Edwards. Edwards was observed in his vehicle approaching

the location CHS #2 was parked and entered an alleyway. CHS #2 followed Edwards into the

alleyway. Case agents observed CHS #2 pull along the driver side of Edwards’s vehicle and had

an exchange through CHS #2’s passenger side window and Edwards’s front driver’s window.

After the exchange, both vehicles departed the location. CHS #2 was followed back to the meeting

location by case agents. Case agents recovered a clear plastic sandwich bag containing an off-

white rock-like substance, which was suspected to be crack cocaine and a clear plastic sandwich

bag containing brown rock-like substance which was suspected to be heroin. CHS #2’s person

and vehicle were searched for any contraband or money, and none was located.

       50.     The purchased crack cocaine was later subjected to the Nark II 07 field test, which

tested for cocaine base with a weight of 51.9 grams with original packaging. The purchased heroin

was subjected to the Nark II 11 field test, which tested positive for opiates with a weight of 12.2

grams with original packaging.

       51.     Based on the information described above, I believe Rayvon Edwards is the primary

user of the Target Cell Phone and uses it, at least in part, to assist in the distribution of controlled

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substances, the possession of controlled substances with the intent to distribute, the use of a

telephone facility to further a felony drug crime, and a conspiracy to distribute and possession with

the intent to distribute controlled substances.

       52.     I believe that the historical and prospective location information for the Target Cell

Phone will continue to assist with physical, electronic, and aerial surveillance. This has been

difficult due to Edwards’s counter-surveillance techniques, and the reckless manner in which

Edwards operates his vehicle. Based on the investigation to date, Edwards’s pattern of travel in

both destination and duration is unpredictable. Many of Edwards’s daytime stops are located in

neighborhoods where the presence of law enforcement is likely to be detected. The location

information for the Target Cell Phone has been and will continue to be an important supplement

to physical, electronic, and aerial surveillance of Edwards and others involved in his drug

trafficking organization.

                                 TECHNICAL BACKGROUND

       53.     In my training and experience, I have learned that the Service Provider is a company

that provides cellular communications service to the general public. I also know that providers of

cellular communications service have technical capabilities that allow them to collect and generate

information about the locations of the cellular devices to which they provide service, including

cell-site data, also known as “tower/face information” or “cell tower/sector records.” Cell-site data

identifies the “cell towers” (i.e., antenna towers covering specific geographic areas) that received

a radio signal from the cellular device and, in some cases, the “sector” (i.e., faces of the towers) to

which the device connected. These towers are often a half-mile or more apart, even in urban areas,

and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless device

does not necessarily serve every call made to or from that device. Accordingly, cell-site data

provides an approximate general location of the cellular device.

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                                           Cell-Site Data

       54.     Based on my training and experience, I know that the Service Provider can collect

cell-site data on a prospective basis about the Target Cell Phone. Based on my training and

experience, I know that for each communication a cellular device makes, its wireless service

provider can typically determine: (1) the date and time of the communication; (2) the telephone

numbers involved, if any; (3) the cell tower to which the customer connected at the beginning of

the communication; (4) the cell tower to which the customer was connected at the end of the

communication; and (5) the duration of the communication. I also know that wireless providers

such as the Service Provider typically collect and retain cell-site data pertaining to cellular devices

to which they provide service in their normal course of business in order to use this information

for various business-related purposes.

                               E-911 Phase II / GPS Location Data

       55.     I know that some providers of cellular telephone service have technical capabilities

that allow them to collect and generate E-911 Phase II data, also known as GPS data or latitude-

longitude data. E-911 Phase II data provides relatively precise location information about the

cellular telephone itself, either via GPS tracking technology built into the phone or by triangulating

on the device’s signal using data from several of the provider’s cell towers. As discussed above,

cell-site data identifies the “cell towers” (i.e., antenna towers covering specific geographic areas)

that received a radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces

of the towers) to which the telephone connected. These towers are often a half-mile or more apart,

even in urban areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest

to a wireless device does not necessarily serve every call made to or from that device. Accordingly,

cell-site data is typically less precise that E-911 Phase II data. Based on my training and

experience, I know that the Service Provider can collect E-911 Phase II data about the location of

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the Target Cell Phone, including by initiating a signal to determine the location of the Target Cell

Phone on the Service Provider’s network or with such other reference points as may be reasonably

available.

                                         Pen-Trap Data

       56.      Based on my training and experience, I know each cellular device has one or more

unique identifiers embedded inside it. Depending on the cellular network and the device, the

embedded unique identifiers for a cellular device could take several different forms, including an

Electronic Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile

Identification Number (“MIN”), a Subscriber Identity Module (“SIM”), a Mobile Subscriber

Integrated Services Digital Network Number (“MSISDN”), an International Mobile Subscriber

Identifier (“IMSI”), or an International Mobile Equipment Identity (“IMEI”). The unique

identifiers – as transmitted from a cellular device to a cellular antenna or tower – can be recorded

by pen-trap devices and indicate the identity of the cellular device making the communication

without revealing the communication’s content.

                                    Subscriber Information

       57.      Based on my training and experience, I know that wireless providers such as the

Service Provider typically collect and retain information about their subscribers in their normal

course of business. This information can include basic personal information about the subscriber,

such as name and address, and the method(s) of payment (such as credit card account number)

provided by the subscriber to pay for wireless communication service. I also know that wireless

providers such as the Service Provider typically collect and retain information about their

subscribers’ use of the wireless service, such as records about calls or other communications sent

or received by a particular device and other transactional records, in their normal course of

business. In my training and experience, this information may constitute evidence of the crimes

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under investigation because the information can be used to identify the Target Cell Phone’s user

or users and may assist in the identification of co-conspirators and/or victims.

                                 AUTHORIZATION REQUEST

       58.     Based on the foregoing, I request that the Court issue the proposed warrant,

pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       59.     I further request that the Court direct the Service Provider to disclose to the

government any information described in Section I of Attachment B that is within its possession,

custody, or control.

       60.     I also request that the Court direct the Service Provider to furnish the government

all information, facilities, and technical assistance necessary to accomplish the collection of the

information described in Attachment B unobtrusively and with a minimum of interference with

the Service Provider’s services, including by initiating a signal to determine the location of the

Target Cell Phone on the Service Provider’s network or with such other reference points as may

be reasonably available, and at such intervals and times directed by the government. The

government shall reasonably compensate the Service Provider for reasonable expenses incurred in

furnishing such facilities or assistance.

       61.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until

60 days after the collection authorized by the warrant has been completed. There is reasonable

cause to believe that providing immediate notification of the warrant may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the Target

Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure would give

that person an opportunity to destroy evidence, change patterns of behavior, notify confederates,

and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B,

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which is incorporated into the warrant, the proposed search warrant does not authorize the seizure

of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant

authorizes the seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510)

or any stored wire or electronic information, there is reasonable necessity for the seizure for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

       62.     Because the warrant will be served on the Service Provider, who will then compile

the requested records at a time convenient to it, reasonable cause exists to permit the execution of

the requested warrant at any time in the day or night. I further request that the Court authorize

execution of the warrant at any time of day or night, owing to the potential need to locate the Target

Cell Phone outside of daytime hours.




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                                 ATTACHMENT A

                              Property to Be Searched

1. Records and information associated with the cellular device assigned call number 414-553-

    4801 (referred to herein and in Attachment B as “the Target Cell Phone”), with listed

    subscriber(s) unknown, that is in the custody or control of AT&T (referred to herein and

    in Attachment B as the “Provider”), a wireless communications service provider that is

    headquartered at 11760 U.S. Highway 1, North Palm Beach, Florida 33408.

2. The Target Cell Phone.




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                                   ATTACHMENT B

                             Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is still

available to the Provider or that has been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), the Provider is required to disclose to the government the following information

pertaining to the Account listed in Attachment A:

        a. The following subscriber and historical information about the customers or
           subscribers associated with the Target Cell Phone for the time period April 1, 2023,
           to present:

                i. Names (including subscriber names, usernames, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business
                   addresses, and e-mail addresses);

              iii. Local and long-distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

               v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

             viii. Means and source of payment for such service (including any credit card or
                   bank account number) and billing records; and



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         ix. All records and other information (not including the contents of
             communications) relating to wire and electronic communications sent or
             received by the Target Cell Phone, including:

             (A) the date and time of the communication, the method of the
             communication, and the source and destination of the communication (such
             as the source and destination telephone numbers (call detail records), email
             addresses, and IP addresses); and

              (ii) information regarding the cell tower and antenna face (also known as
             “sectors” through which the communications were sent and received)

 b.   Information associated with each communication to and from the Target Cell
      Phone for a period of 30 days from the date of this warrant, including:

          i. Any unique identifiers associated with the cellular device, including ESN,
             MEIN, MSISDN, IMSI, SIM, or MIN;

         ii. Source and destination telephone numbers;

        iii. Date, time, and duration of communication; and

        iv. All data about the cell towers (i.e., antenna towers covering specific
            geographic areas) and sectors (i.e., faces of the towers) to which the Target
            Cell Phone will connect at the beginning and end of each communication.

      The Court has also issued an order pursuant to 18 U.S.C. § 3123, dated today, for
      such information associated with the Target Cell Phone.

 c. Information about the location of the Target Cell Phone for a period of 30 days,
    during all times of day and night. “Information about the location of the Subject
    Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
    data, and other precise location information.

          i. To the extent that the information described in the previous paragraph
             (hereinafter, “Location Information”) is within the possession, custody, or
             control of the Provider, the Provider is required to disclose the Location
             Information to the government. In addition, the Provider must furnish the
             government all information, facilities, and technical assistance necessary to
             accomplish the collection of the Location Information unobtrusively and
             with a minimum of interference with the Provider’s services, including by
             initiating a signal to determine the location of the Target Cell Phone on the
             Provider’s network or with such other reference points as may be reasonably
             available, and at such intervals and times directed by the government. The
             government shall compensate the Provider for reasonable expenses incurred
             in furnishing such facilities or assistance.



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                    ii. This warrant does not authorize the seizure of any tangible property. In
                        approving this warrant, the Court finds reasonable necessity for the seizure
                        of the Location Information. See 18 U.S.C. § 3103a(b)(2).


   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence and instrumentalities

of violations of 21 U.S.C. §§ 846, 841(a)(1), and 843(b) involving Rayvon D. Edwards during the

period from April 1, 2023 to the present.

         Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Warrant.




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